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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:21-cv-03105-RM-KLM

   HUNG DANG and
   TRAM NGUYEN

                  Plaintiffs,

   v.

   ALLSTATE VEHICLE AND PROPERTY
   INSURANCE COMPANY,

                  Defendant.


                 JOINT MOTION TO AMEND THE SCHEDULING ORDER


         Plaintiffs Hung Dang and Tram Nguyen and Allstate Vehicle and Property Insurance

  Company (“Allstate”), jointly move for the entry of an order modifying the scheduling order

  (ECF No. 20.) to extend the expert-disclosure and other corresponding deadlines as follows.

                                CERTIFICATE OF CONFERRAL

         Both parties join in this motion.

                                         JOINT MOTION

         1.      Good cause exists to amend the scheduling order in this case. “Demonstrating

  good cause under the rule ‘requires the moving party to show that it has been diligent in

  attempting to meet the deadlines, which means it must provide an adequate explanation for any

  delay.’” Strope v. Collins, 315 F. App’x 57, 61 (10th Cir. 2009) (quoting Moothart v. Bell, 21

  F.3d 1499, 1504 (10th Cir. 1994)).
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          2.      This is an insurance breach of contract and bad faith case in which Plaintiffs seek

  insurance benefits due to alleged damage to his insured property.

          3.      Under the current Scheduling Order, the deadline for Affirmative Expert

  Disclosures is set for June 8, 2022, the deadline for Rebuttal Expert Disclosures is set for July 8,

  2022, the deadline for the end of discovery is set for August 4, 2022, and the deadline for

  Dispositive Motions is set for September 7, 2022. (ECF No. 20.)

          4.      The Parties have been engaged in settlement negotiations and believe this case has

  a reasonably likely chance of settling without the need to conduct extensive, costly discovery.

          5.      Because the Parties want to continue to pursue settlement negotiations without the

  unnecessary burden and cost of discovery, the Parties request this Court grant extensions of the

  deadlines in the Scheduling Order as follows:

          a.      Affirmative Expert Disclosures: August 8, 2022.

          b.      Rebuttal Expert Disclosures: September 6, 2022.

          c.      Discovery cut-off: October 3, 2022.

          d.      Dispositive Motions: November 7, 2022.

          6.      The Parties submit that the requested extension of time is necessary for the Parties

  “to secure the just, speedy, and inexpensive determination of [this] action,” and it is proportional

  to the discovery needed to prepare this case for trial, given factors including the importance of

  the issues at stake and the amount in controversy. Leaving the current deadlines in place will

  force the Parties to engage in discovery, despite the fact this case is likely to settle, thereby

  increasing the cost of litigation unnecessarily.




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         7.      For the reasons set forth above, good cause exists to amend the Scheduling Order

  and extend the deadlines to the dates requested in paragraph 5 above.

         8.      This is the first request to amend deadlines in the Scheduling Order and the

  Parties do not currently seek to amend any other deadlines besides those provided above.

         9.      This Joint Motion is not brought for any improper purpose. Neither Party will be

  prejudiced if the Motion is granted.

         10.     Under D.C.COLO.LCivR 6.1(c), undersigned counsel certifies that a copy of this

  Motion is being served upon their clients.

         WHEREFORE, the Parties respectfully request that this Honorable Court grant this Joint

  Motion and amend the deadlines in the Scheduling Order.




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  Dated: June 3, 2022                     Respectfully submitted,



  s/ Richard A. Lane, III                 s/ Evan Blonigen
  Christopher Drake                       Terence M. Ridley
  Alyssa Chirlin                          Evan Blonigen
  Richard A. Lane, III                    Spencer Fane LLP
  Smith Jadin Johnson, PLLC               1700 Lincoln Street, Suite 2000
  1775 Sherman Street, Suite 2750         Denver, CO 80203
  Denver, CO 80203                        Telephone: 303.839.3800
  Telephone: (720) 550-7228               Facsimile: 303.839.3838
   Facsimile: (612) 235-7927              Email: tridley@spencerfane.com
   Email: cdrake@sjjlawfirm.com                  eblonigen@spencerfane.com
          achirlin@sjjlawfirm.com
          alane@sjjlawfirm.com
  Attorneys for Plaintiffs                Attorneys for Defendant
  Hung Dang and Tram Nguyen               Allstate Vehicle and Property Insurance
                                          Company




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